               IN THE COURT OF APPEALS OF NORTH CAROLINA

                         [do not modify or remove this line]

                                  No. COA20-309

                      Filed: [do not modify or remove this line]

Rowan County, No. 16 CRS 2384, 53102-03

STATE OF NORTH CAROLINA

              v.

SINDY LINA ABBITT


Rowan County, No. 16 CRS 54029, 54042-43

STATE OF NORTH CAROLINA

              v.

DANIEL ALBARRAN


        Appeal by defendants from judgments entered 13 March 2019 by Judge Lori I.

Hamilton in Rowan County Superior Court. Heard in the Court of Appeals 25 May

2021.


        Attorney General Joshua H. Stein, by Special Deputy Attorney General Sandra
        Wallace-Smith, for the State.

        Anne Bleyman for defendant-appellant Sindy Lina Abbitt

        Rudolf Widenhouse, by M. Gordon Widenhouse, Jr., for defendant-appellant
        Daniel Albarran.


        TYSON, Judge.
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                                            Opinion of the Court



¶1         Sindy Abbitt (“Abbitt”) and Daniel Albarran (“Albarran”) (together:

     “Defendants”) were indicted for the murder of Lacynda Feimster and other crimes

     related thereto. The jury returned guilty verdicts against Abbitt for first-degree

     murder on the bases of malice, premeditation, deliberation, and felony murder,

     attempted robbery with a dangerous weapon, and assault with a deadly weapon.

     Albarran was convicted by the jury of first-degree felony murder, attempted robbery

     with a dangerous weapon, and assault with a deadly weapon. We find no error.

                                       I.      Background

¶2         Mary Gregory (“Gregory”) lived on Crown Point Drive in May 2016 with her

     daughter, Lacynda Feimster, (“Feimster”) and Feimster’s two children: three-year-

     old Meaco; and, nineteen-year-old NaKyia. Gregory was at home and caring for

     Meaco when Feimster arrived home from work on 24 May 2016. Feimster had worked

     at an O’Charley’s restaurant, and she had bought juice and diaper wipes at a Food

     Lion supermarket before returning home between 10:00 p.m. and 11:00 p.m.

¶3         Gregory and Meaco were located in the living room and heard Feimster’s car

     arrive in the parking lot.    Feimster took longer than usual to come inside the

     apartment. When Feimster walked into the apartment, a Black female and Hispanic

     male walked into the apartment behind her.

¶4         The male was described as tall, with slicked-back, black hair. He wore a long-

     sleeved white shirt, jacket, white low top sneakers, and dirty latex gloves. Gregory


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     described the female as stocky and dark-skinned with shoulder-length hair. She was

     wearing red tennis shoes and a shirt with a design on the front. Regarding the

     female’s stature, Gregory described her as, “medium, short. She was just average.

     Not quite average height.” Gregory testified she had never seen either the woman or

     the man with Feimster previously.

¶5         After Feimster and the perpetrators entered the apartment, the male locked

     the front door behind them. Gregory asked Feimster if everything was okay, Feimster

     replied: “Yes, mama, I got this.”     Feimster and the female walked directly into

     Feimster’s bedroom and closed the door. Gregory and Meaco remained on the living

     room sofa with the Hispanic male present.

¶6         Meaco eventually went into the bedroom and sat on his mother’s lap. Gregory

     asked the man for his name and where he lived, but he declined to answer. Gregory

     attempted to call her granddaughter to come and take Meaco away from the

     apartment, but the man took her cellular flip phone. He told Gregory she could call

     “when everything was over.”

¶7         Gregory testified the man was within arms-length away from her, the

     apartment was “well-lit” and nothing obstructed her view of the man.       Gregory

     testified that while she waited on the sofa, the man paced back and forth. For the

     duration of the intrusion, the male opened the front door several times to peer

     outside, and he and the female perpetrator talked about “a phone call.”

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¶8           The man made two or three cell phone calls. During one of the calls, Gregory

       testified he said, “She wants to know how far you are. Where are you? How far away

       are you?” After that phone call, the man went to Feimster’s bedroom and talked to

       the female perpetrator. Gregory was ordered to join them in the bedroom.

¶9           Gregory testified the female left the bedroom momentarily. Gregory saw she

       had a gun when she returned to the “well-lit” bedroom. The female hit Gregory in

       her face with the gun, and she fell to the floor. Gregory testified, “She told me to stay

       down. She said she didn’t want to hurt me because I didn’t have nothing (sic) to do

       with it and it didn’t have anything to do with me.” Gregory described the gun as

       small, black, with a brown handle.

¶ 10         Gregory testified when she arose from the floor, Feimster, Meaco and the

       female were located by the bedroom door.            At some point during the incident,

       Feimster told the female perpetrator, “If I had it I would give it to you. I don’t have

       any money.” Gregory testified, “The next thing I know [Feimster] and Meaco are

       down on the floor . . . [Feimster] has got Meaco. They’re in a fetal position and you

       can’t see Meaco.” Gregory explained the female perpetrator had her knee and hand

       on Feimster, holding her down on the floor.

¶ 11         The female said to Feimster, “Bitch, you should have gave (sic) me the mother

       f***ing money.” The female perpetrator then shot Feimster in the head and ran out

       of the apartment. Gregory called 911 in hysterics; she was yelling for help and

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       portions of the call are inaudible. The 911 operator asked, “Did he have a weapon?”

       Gregory said, “Yes. (inaudible) had a gun and she shot my daughter.” The 911

       operator recording of a computer-aided dispatch asserted, “Male had a gun and shot

       the female.” The police and EMS arrived. Gregory was transported to the hospital

       and treated with eight stiches for her broken nose. Meaco was not physically injured.

¶ 12          At trial, forensic pathologist, Nabila Haikal M.D., testified that she performed

       an autopsy on Feimster on 25 May 2016. Dr. Haikal testified Feimster’s life was

       taken by a gunshot wound to the head, it took minutes for Feimster to die, and she

       had suffered other injuries suggesting blunt force trauma on the scalp.

¶ 13          Salisbury Police investigators developed a suspect named Ashley Phillips

       (“Phillips”).   Phillips was the first person identified by Feimster’s family.       A

       confidential informant identified a car connected to Phillips as being present at the

       murder scene on 24 May. Phillips came to the police station after the crimes driving

       this car.

¶ 14          Police officers found a .25 caliber Lorcin pistol and white latex gloves inside

       the glove compartment of her car. DNA swabs were taken from these items, but they

       were not submitted for testing. There were also three spent shell casings matching

       the .25 caliber of the pistol inside the car.

¶ 15          Gregory was shown a photograph of Phillips and said, “she does look like her,”

       referring to the female who had shot Feimster, but the police did not do a

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       photographic lineup including Phillips’ picture.

¶ 16         Inside Feimster’s bedroom, a .25 caliber shell casing was found on the floor

       under Feimster’s body. Police also discovered a black drawstring bag in the bedroom

       with a Taurus revolver inside.

¶ 17         Defense counsel explained to the court that Bureau of Alcohol, Tobacco,

       Firearms, and Explosives Agent Kevin Kelly (“Agent Kelly”) took the .25 shell casing

       found at the scene and sent it to Jamie Minn (“Minn”) along with two shell casings

       he had test fired himself from the pistol recovered in Phillips’ car. Minn received all

       three shell casings.

¶ 18         Minn was not tendered as a firearms expert at the time of testing, but she

       examined the shell casings and reported “she could not say it was not the gun used,

       she also told them there was a likelihood it could be the gun that was used and

       explained to them how to get further testing that they did not do.” The Lorcin pistol

       and shell casings found in Phillips’ car and under Feimster’s body produced

       inconclusive results. The Lorcin pistol was eventually returned to Phillips.

¶ 19         Three days after Feimster was killed, police conducted two photographic

       lineups with Gregory on 27 May 2016. One lineup involved a photo array of six

       pictures of males, including a photo of Albarran. Gregory became emotional and

       visibly upset upon being shown Albarran’s photo.            She was certain he was the

       Hispanic male inside of her home and involved in the crimes. The photo lineup was

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       recorded and played for the jury. The second photographic lineup involved a photo

       array of six Black females, including Abbitt. Gregory selected Abbitt’s picture with

       certainty as the Black woman who had shot and killed her daughter.

¶ 20         Police officers interviewed Abbitt. She admitted she knew Feimster through

       her sister but asserted she had not seen her in several years. Abbitt denied being at

       Crown Point Drive or inside the victim’s home on 24 May.

¶ 21         Abbitt claimed, as an alibi, she was home all night at 340 Adolphus Road at a

       cookout the night Feimster was killed, and other individuals were with her. Abbitt’s

       counsel filed pretrial notice of an alibi defense. None of those asserted individuals

       were called or testified during trial.

¶ 22         Federal Bureau of Investigation Special Agent Michael Sutton (“Agent

       Sutton”) of the cellular analysis survey division, testified about each of Defendants’

       cellular phone usage from 23-26 May 2016. Agent Sutton analyzed cell numbers:

       (704) 645-1373, and (704) 223-7882. The parties stipulated that on or about 24 May

       2016, Sindy Abbitt’s telephone number was (704) 223-7882.

¶ 23         Salisbury Police Sergeant Travis Schulenburger (“Sergeant Schulenburger”)

       testified Albarran’s cellular number at that time was (704) 645-1373.       Sergeant

       Schulenburger testified he had observed a “323” tattoo on Albarran’s body. Albarran

       told him during an interview he had grown up in Los Angeles. The area around Los

       Angeles is assigned a “323” area code. Albarran stated some people call him “L.A.”

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¶ 24         The calls Defendants made on 24 May 2016 were relayed by the cell phone

       towers located at or near the O’Charley’s restaurant, the Food Lion supermarket, and

       Adolphus Road, all of which are located in south Salisbury and in the vicinity of

       Feimster’s apartment.

¶ 25         Agent Sutton testified that on 24 May 2016, from at least 6:09 p.m. to 7:12

       p.m., both of Defendants’ phones used sectors of towers that provided service to an

       area that included the 340 Adolphus Road address.                 No later than 7:32 p.m.,

       Albarran’s phone had moved from the south Salisbury location to an area near the

       O’Charley’s restaurant where Feimster had worked. By 10:41 p.m., Abbitt’s phone

       had moved from the area south of Salisbury and used the sector of the cell tower

       which provided service to an area that included the Food Lion supermarket where

       Feimster had purchased juice and baby wipes.

¶ 26         Albarran’s phone used sectors of towers that provided service to the area that

       included the Food Lion supermarket and Gregory’s apartment at 11:02 p.m., 11:04

       p.m. and 11:07 p.m. The sectors used at 11:02 p.m., and 11:07 p.m., had also provided

       service to the O’Charley’s restaurant. On 24 May 2016, by no later than 11:58 p.m.,

       both phones had moved south back to a tower which served an area that included

       Adolphus Road. There were approximately twelve contacts between the Defendants’

       two phones from 23 May 2016 through 26 May 2016.

¶ 27         Albarran and Abbitt both denied knowing each another. Abbitt was arrested

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       on 23 June 2016. Albarran was arrested on 17 August 2016. Gregory identified both

       Albarran as the male perpetrator and Abbitt as the female perpetrator in open court.

       The defense requested forensic analysis of a pink cell phone recovered from the coffee

       table in the victim’s apartment. Defense did not request analysis from the Salisbury

       Police Department for any other items.

¶ 28         Defendants were joined for noncapital trials on 4 March 2019. The jury’s

       verdicts convicted Abbitt of first-degree murder on the bases of both premeditation

       and deliberation and felony murder, attempted robbery with a dangerous weapon,

       and assault with a deadly weapon. The jury’s verdicts convicted Albarran of first-

       degree murder on the bases of felony murder, attempted robbery with a dangerous

       weapon, and assault with a deadly weapon.

¶ 29         Abbitt was sentenced to life without possibility of parole for murder and to

       concurrent sentences of 73 to 100 months and 150 days for the additional crimes.

       Albarran was sentenced to life without possibility of parole for the first-degree

       murder, and to concurrent sentences of 84 months to 113 months and 150 days for

       the additional crimes. Defendants timely appealed.

                                       II.      Jurisdiction

¶ 30         These appeals arise from final judgments in a criminal case pursuant to N.C.

       Gen. Stat. § 7A-27(b) (2019).

                                             III.   Issues


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¶ 31         Six issues are asserted before this Court on appeal. Both parties appeal the

       trial court’s refusal to allow them to introduce evidence to implicate third parties.

       Albarran also asserts the photographic lineup was suggestive, the trial court erred

       overruling his objections to the State’s assertion he had failed to present evidence,

       and his counsel’s closing argument was flawed.

¶ 32         Abbitt individually challenges the admission of her out-of-court denials of

       seeing the victim the day of the murder and the sufficiency of the indictment to

       support the State proceeding on each element of first-degree murder.

                  IV.    Refusal to Allow Evidence Implicating Others

¶ 33         Defendants argue the trial court erred by failing to admit relevant evidence

       tending to show two other people had committed the crimes for which they were

       charged.

¶ 34          “‘Relevant evidence’ means evidence having any tendency to make the

       existence of any fact that is of consequence to the determination of the action more

       probable or less probable than it would be without the evidence.” N.C. Gen. Stat. §

       8C-1, Rule 401 (2019).

                                    A. Standard of Review

¶ 35         “Although the trial court’s rulings on relevancy technically are not

       discretionary and therefore are not reviewed under the abuse of discretion standard

       applicable to Rule 403, such rulings are given great deference on appeal.” Dunn v.


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       Custer, 162 N.C. App. 259, 266, 591 S.E.2d 11, 17 (2004) (citation and quotation

       marks omitted).

                           Evidence casting doubt on the guilt of the accused
                    and insinuating the guilt of another must be relevant in
                    order to be considered by the jury. Because the relevancy
                    standard in criminal cases is relatively lax, [a]ny evidence
                    calculated to throw light upon the crime charged should be
                    admitted by the trial court. However, the general rule
                    remains that the trial court has great discretion on the
                    admission of evidence. Evidence that another committed
                    the crime for which the defendant is charged generally is
                    relevant and admissible as long as it does more than create
                    an inference or conjecture in this regard. Rather, it must
                    point directly to the guilt of the other party. The evidence
                    must simultaneously implicate another and exculpate the
                    defendant.

       State v. Miles, 222 N.C. App. 593, 607, 730 S.E.2d 816, 827 (2012) (emphasis supplied)

       (citations and internal quotation marks omitted) aff’d, 366 N.C. 503, 750 S.E.2d 833
       (2013).

                                      B. Trial Court’s Findings

¶ 36         The trial court found:

                    [S]ome items, specifically, a .25 caliber handgun and latex
                    gloves were found somewhere relevant to Ashley Phillips.

                    That also Ashley Phillips and others were seen arriving at
                    the police department in a vehicle that has been forecasted
                    to the Court to be similar to an automobile that was
                    identified by a confidential informant as being in or around
                    the scene of the murder of Ms. Feimster on March 24, 2016
                    (sic.)

                    Also evidence has been presented at trial to indicate that

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                   the two -- the black female and the Hispanic male that were
                   in the apartment on the night of May 24, 2016, were in
                   communication via telephone. One or both of those
                   individuals were in communication via cell phone with
                   other individuals asking questions such as, “Where are
                   you? When are you going to be here,” which would -- could
                   create and could be seen as evidence of the involvement of
                   other parties, which to this Court does not -- which to this
                   Court means that there may have been other people
                   involved --could very well have been other people involved
                   at – and one of those people could very, very well have been
                   Ashley Phillips.

                    ....

                   [T]he evidence that the defense intends to proffer need to
                   both point directly to the guilt of another person and be
                   inconsistent with the defendant’s guilt.

                   I’m going to find that the proffered -- or the forecasted
                   evidence and the arguments of counsel for the defense
                   failed to meet that second prong. That is, that the evidence
                   would be inconsistent with the guilt of the defendants, and,
                   therefore, I’m going to grant the State’s motion in limine to
                   exclude questions or testimony regarding the guilt of
                   another individual.

¶ 37         Neither Defendant proffered evidence tending to both implicate another

       person(s) and exculpate either Defendant. Miles, 222 N.C. App. at 607, 730 S.E.2d

       at 827 (emphasis supplied). The proffered evidence merely inferred another person

       may have been involved in, or assisted in committing the crimes.

¶ 38         Such inferences, if true, were not inconsistent with direct and eyewitness

       evidence of either Albarran or Abbitt’s guilt. Id. Albarran failed to show the trial



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       court’s exclusion of the proffered evidence, as not relevant and not admissible, was

       prejudicial or reversible error. This argument is overruled.

                                 V.    Photographic Lineup

¶ 39         Albarran alleges the photographic array lineup was unconstitutionally

       suggestive.

                                      A. Standard of Review

¶ 40         The standard of review to challenge the denial of a motion to suppress a

       suggestive pretrial identification is whether the trial court’s findings of fact are

       supported by competent evidence, and if the findings of fact support the conclusions

       of law, which are reviewed de novo. State v. Malone, 373 N.C. 134, 145, 833 S.E.2d

       799, 786 (2019). This Court examines the totality of the circumstances to determine

       whether an identification procedure was unduly suggestive. State v. Alvarez, 168

       N.C. App. 487, 495, 608 S.E.2d 371, 376 (2005).

¶ 41         “[A] trial court’s evidentiary ruling on a pretrial motion [to suppress] is not

       sufficient to preserve the issue of admissibility for appeal unless a defendant renews

       the objection during trial.” State v. Oglesby, 361 N.C. 550, 554, 648 S.E.2d 819, 821
       (2007) (emphasis original) (citations omitted).       Where this issue is not properly

       preserved at trial, we review for plain error. State v. Williams, 248 N.C. App. 112,

       118, 786 S.E.2d 419, 424 (2016).

¶ 42         Under plain error review, a defendant must show a fundamental error occurred


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       at trial and that, after reviewing the entire record, the claimed error must be so

       prejudicial justice cannot have been done. State v. Young, 248 N.C. App. 815, 823, 790

       S.E.2d 182, 188 (2016) (citation omitted). Albarran must show “the error had a

       probable impact on the jury’s finding” and verdict that the defendant was guilty. Id.
       (citations, quotation marks, and brackets omitted).

                                            B. Analysis

¶ 43         Albarran filed a pretrial motion to suppress the photographic lineup, which the

       trial court denied. During trial, Albarran objected to testimony about the pretrial

       identification process, but he failed to object to Gregory’s testimony when she

       identified him as the Hispanic male perpetrator in the courtroom. The issue was not

       properly preserved for appellant review and is subject to plain error review. State v.

       Houser, 239 N.C. App. 410, 419, 768 S.E.2d 626, 633, cert. denied, 368 N.C. 281, 775

       S.E.2d 869 (2015).

¶ 44         Albarran argues the photograph of him was substantially different from the

       other six photographs in the lineup. He asserts the photo was closer to his face than

       the others and drew attention to him.

¶ 45         “[T]he jury shall be instructed that it may consider credible evidence of

       compliance   or   noncompliance     to   determine        the     reliability   of   eyewitness

       identification.” N.C. Gen. Stat. § 15A-284.52(d)(3) (2019). This instruction was

       provided to the jury by the trial court pursuant to N.C.P.I. - - Crim. 101.15 (2019).


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¶ 46         Gregory’s courtroom identification of Albarran was of independent origin,

       based upon what she had experienced and saw up to and at the time of the shooting

       and during trial. Albarran failed to object, and his statutory and due process rights

       were not violated. State v. Malone, 373 N.C. 134, 135, 833 S.E.2d 779, 781 (2019)

       (holding eyewitness testimony identifying the defendant in trial after a prejudicial

       photo lineup was ultimately not a constitutional violation of his rights because the

       identification “was of independent origin”).

¶ 47         Any uncertainty regarding the accuracy, abilities, or credibility of a witness’

       in-court identification testimony was subject to cross-examination. Any challenge

       goes to the weight and credibility the trier of fact should consider, rather than to its

       admissibility. State v. Billups, 301 N.C. 607, 616, 272 S.E.2d 842, 849 (1981).

¶ 48         Under plain error review, Albarran has failed to show that the alleged error

       had a probable impact on the jury. He has failed to establish the error is one that

       seriously affects the fairness, integrity, or public reputation of judicial proceedings or

       that a different outcome would have occurred, if excluded. With the unobjected to

       and in-court identification, the photo identification testimony is not shown to have

       impacted the jury’s verdict. Albarran has failed to establish any prejudice. His

       argument is overruled.

                      VI.   Failure to Present an Evidence Objection

¶ 49         Where the trial court fails to sustain a defendant’s objection to the prosecutor’s


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       improper closing argument, this Court reviews that ruling for abuse of discretion.

       State v. Martin, 248 N.C. App. 84, 88-89, 786 S.E.2d 426, 429 (2016) (citing State v.

       Jones, 355 N.C. 117, 131, 558 S.E.2d 97, 106 (2002).

                                      A. Standard of Review

¶ 50         “Abuse of discretion results where the court’s ruling is manifestly unsupported

       by reason or is so arbitrary that it could not have been the result of a reasoned

       decision.” Martin, 248 N.C. App. at 89, 786 S.E.2d at 429 (internal citations omitted).

       “When applying the abuse of discretion standard to closing arguments, this Court

       first determines if the remarks were improper. . . . [I]mproper remarks include

       statements of personal opinion, personal conclusions, name-calling, and references to

       events and circumstances outside the evidence, such as the infamous acts of others.”

       Jones, 355 N.C. at 131, 558 S.E.2d at 106. This Court also “determine[s] if the

       remarks were of such a magnitude that their inclusion prejudiced defendant, and

       thus should have been excluded by the trial court.” Id.
                                             B. Analysis

¶ 51         Albarran argues the trial court erred by overruling his objection during the

       State’s closing argument to the prosecutor’s improperly commenting on his failure to

       present evidence. The State’s closing argument asserted:

                    [Prosecutor]: All right . . . . “Where is it?”

                    [Defense Counsel]: Objection.


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                    THE COURT: Overruled.

                    [Prosecutor]: The defense has suggested that value can be
                    found in the evidence . . . in the Salisbury PD evidence
                    locker that has not undergone forensic analysis. They can
                    have the evidence analyzed. Why didn’t they have the
                    evidence analyzed? Where is their forensic analysis --
                    analyst? Again, where is it? Defendant Abbitt gave
                    Sergeant Shulenburger a list of people who would
                    corroborate that she was home all night on May 24 -- 25,
                    2016. Her attorney predicted in her opening statement that
                    you would hear alibi evidence. Where are these alibi
                    witnesses? And why haven’t you heard from them?

¶ 52         Defense counsel objected, stating “we’re getting dangerously close to

       potentially presenting antagonistic defenses.” The trial court overruled the defenses’

       objections, but then stated, “Mr. Albarran did not represent to the jury that he had

       an alibi defense.”

¶ 53         “The State is free to point out the failure of the defendants to produce available

       witnesses.” State v. Tilley, 292 N.C. 132, 144, 232 S.E.2d 433, 441 (1977) (prosecutor’s

       remarks directed at the failure of defendants to produce exculpatory evidence or to

       contradict the State’s case did not constitute an impermissible comment on the failure

       of defendants to take the stand). Abbitt’s counsel filed a pretrial notice to assert an

       alibi defense.

¶ 54         Under these facts relating to Abbitt, the prosecutor’s remarks pointing out her

       failure to produce exculpatory evidence are not impermissible. State v. Mason, 315

       N.C. 724, 732-33, 340 S.E.2d 430, 435-36 (1986). Here, the prosecutor’s statements


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       do not rise to the level of an improper remark according to Jones, 355 N.C. at 131,

       558 S.E.2d at 106. Defendant’s argument is without merit and overruled. Id.
                            VII.   Defendant’s Closing Argument

¶ 55         When the trial court fails to sustain a defendant’s objection to the prosecutor’s

       improper closing argument, this Court reviews that ruling for an abuse of discretion.

       Martin, 248 N.C. App. at 88-89, 786 S.E.2d at 429. “Abuse of discretion results where

       the court’s ruling is manifestly unsupported by reason or is so arbitrary that it could

       not have been the result of a reasoned decision.” Id. at 89, 786 S.E.2d at 429 (internal

       citation omitted).

¶ 56         As noted in the standard of review for section VI, “A lawyer may, however, urge

       the jury to observe and consider a defendant’s demeanor during trial.” State v.

       Salmon, 140 N.C. App. 567, 575, 537 S.E.2d 829, 835 (2000) (referencing the

       defendant in his closing, the prosecutor stated, “[h]ave you seen the slightest bit of

       emotion? . . . . I haven’t seen any. He is a cold fish. He’s the kind of individual, when

       you think about it, you see, who would do exactly what the evidence shows he did.”).

¶ 57         Here, the defense’s closing argument was as follows:

                    [Defense counsel]: [Gregory] was asked about whether or
                    not she noticed any tattoos on the person -- on the
                    individual that she saw in the apartment -- the Hispanic
                    male -- that night. And she said she didn’t notice any
                    tattoos. You’ve had a – a chance to see Daniel Albarran in
                    the courtroom this week - -



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                    [Prosecutor]: Objection, Your Honor.

                    THE COURT: Sustained.

                    [Defense counsel]: You have been in this courtroom the
                    entire week. You’ve had a chance to observe the demeanor
                    of Daniel Albarran, his appearance because you - -

                    [Prosecutor]: Objection, Your Honor.

                    THE COURT: Sustained.

                    [Defense counsel]: -- you obviously have had the
                    opportunity sitting in this courtroom to see Daniel
                    Albarran and to compare his appearance with the
                    description that you’ve [heard] sic.

                    [Prosecutor]: Objection, Your Honor.

                    THE COURT: Sustained.

                    [Defense counsel]: All right. You heard Detective
                    Shulenburger - - Sergeant Shulenburger testify that the
                    date Daniel Albarran was arrested, he came out of the
                    bedroom putting his shirt on and that had numerous
                    tattoos. He even had tattoos on his neck, and yet Ms.
                    Gregory didn’t mention tattoos in her description.

¶ 58         Defense counsel’s closing argument asked the jury to discern what Albarran’s

       appearance may have been two years earlier, and to contrast it with what his

       appearance was at trial, and in his lineup photo.

¶ 59         The prosecutor stated:

                    [Prosecutor]: And I’ll just state for the record, I don’t have
                    any problem with his demeanor or whatever. And I didn’t
                    have any problem with her asking about tattoos the

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                    defendant had at the time. The problem is the tattoos that
                    he may have now, two and half years later.

                    There’s no evidence of what tattoos he had then and what
                    tattoos he has now. It’s certainly appropriate for her to
                    comment on tattoos that were observed by Sergeant
                    Shulenburger at the time, and that’s the reason I objected,
                    Your Honor.

¶ 60         Gregory testified Albarran wore a long-sleeve white shirt and jacket on the

       night of Feimster’s murder, and if he had tattoos on his arms, she would not have

       been able to see them. The evidence tends to show the photographic lineup of both

       Albarran and Abbitt was held on 27 May 2016, three days after Feimster was

       murdered.

¶ 61         Defendants’ trial began 4 March 2019, more than two years after the murder.

       Albarran’s photograph used in the array and in the record does not show visible

       tattoos on Albarran’s face and neck.

¶ 62         A change in Albarran’s appearance over two years, or even three months, has

       no bearing on Gregory’s identification and description of Albarran on the night of the

       murder. Based upon the lack of any visible tattoos in Albarran’s photograph, shown

       to Gregory three days after the murder, the trial court did not abuse its discretion

       sustaining the prosecution’s objections. Albarran’s argument is overruled.

                          VIII.    Abbitt’s Out of Court Denials

¶ 63         Abbitt argues her out-of-court statements denying she had seen Feimster



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       recently were improperly placed into evidence as admissions.          “‘Hearsay’ is a

       statement, other than one made by the declarant while testifying at the trial or

       hearing, offered in evidence to prove the truth of the matter asserted.” N.C. Gen.

       Stat. § 8C-1, Rule 801(c) (2019).      “However, out-of-court statements offered for

       purposes other than to prove the truth of the matter asserted are not considered

       hearsay.” State v. Call, 349 N.C. 382, 409, 508 S.E.2d. 496, 513 (1998). “This Court

       has held that statements of one person to another to explain subsequent actions taken

       by the person to whom the statement was made are admissible as non-hearsay

       evidence.” Id.
¶ 64         Sergeant Travis testified about a conversation he had with Abbitt, wherein she

       stated that she had not been to the Crown Point Drive area in over a year, had not

       seen Feimster in years, she had only known Feimster through Abbitt’s sister, she did

       not know a Hispanic male who goes by the street name of “L.A.,” and denied knowing

       Daniel Albarran at all.

¶ 65         Sergeant Travis testified Abbitt was not in custody or under arrest at the time

       of this conversation. He had advised Abbitt she did not have to talk to him and was

       free to leave at any time. After being advised that she could leave at any time, Abbitt

       willingly spoke to him.

¶ 66         The statements would be relevant and admissible pursuant to N.C. Gen. Stat.

       § 8C-1, Rule 401 (2019). These statements did not give rise to a reasonable possibility

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       that without the asserted error, the jury would have reached a different result.

       Defendant’s arguments are without merit and overruled.

                 IX.    Elements of First-Degree Murder against Abbitt

¶ 67         Abbitt argues her indictment is fatally defective because it does not sufficiently

       allege the essential elements of the offense. We disagree.

¶ 68         Our Supreme Court stated:

                    [T]his Court has consistently held that indictments for
                    murder based on the short-form indictment statute are in
                    compliance with both the North Carolina and United
                    States Constitutions.

                    This Court has also held that the short-form indictment is
                    sufficient to charge first-degree murder on the basis of any
                    of the theories, including premeditation and deliberation,
                    set forth in N.C.G.S. § 14-17, which is referenced on the
                    short-form indictment.

                    The crime of first-degree murder and the accompanying
                    maximum penalty of death, as set forth in N.C.G.S. § 14-
                    17 and North Carolina’s capital sentencing statute, are
                    encompassed within the language of the short-form
                    indictment. We, therefore, conclude that premeditation
                    and deliberation need not be separately alleged in the
                    short-form indictment.

       State v. Braxton, 352 N.C. 158, 174-175, 531 S.E.2d 428, 437-38 (2000) (alterations,

       citations and internal quotation marks omitted).           The short form indictment is

       sufficient to confer jurisdiction upon the courts. Id. Abbitt’s argument is overruled.

                                        X.    Conclusion

¶ 69         Defendants were properly prohibited from presenting evidence implicating a

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                                           Opinion of the Court



       third party upon mere speculation, and which evidence did not exculpate their guilt.

       Albarran did not properly preserve his pretrial objection to the photo lineup on appeal

       by Gregory’s unobjected to in-court identification of him. Defendants’ objections

       during the prosecutor’s closing arguments were neither meritorious nor prejudicial.

       The trial court did not err in sustaining the prosecutor’s objections to Albarran’s

       closing argument on his visible tattoos the time of trial.

¶ 70         Abbitt’s out-of-court statements were not hearsay. They were relevant and

       properly admitted. Abbitt’s challenge to her indictment is without merit. Both

       Defendants received fair trials, free from prejudicial errors they together or

       individually preserved and argued. We find no error. It is so ordered.

             NO ERROR.

             Judge JACKSON concurs.

             Judge MURPHY dissents in part and concurs in part with separate opinion.




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        No. COA20-309 – State v. Abbitt


              MURPHY, Judge, dissenting in part and concurring in part.


¶ 71          Evidence implicating others is relevant and admissible when it simultaneously

       implicates another and exculpates a defendant. Defendants sought to provide such

       evidence that implicated another person and exculpated themselves. The proffered

       evidence “constitute[d] a possible alternative explanation for the victim’s unfortunate

       demise and thereby cast[ed] crucial doubt upon the State’s theory of the case.” State

       v. McElrath, 322 N.C. 1, 13-14, 366 S.E.2d 442, 449 (1988). The trial court erred in

       precluding Defendants from introducing evidence implicating other suspects.

¶ 72          Further, a “reasonable possibility [exists] that, had the error in question not

       been committed, a different result would have been reached.” State v. Miles, 222 N.C.

       App. 593, 607, 730 S.E.2d 816, 827 (2012), aff’d per curiam, 366 N.C. 503, 750 S.E.2d

       833 (2013). Defendants are entitled to a new trial, which would render the issues

       discussed in Parts V through VIII of the Majority moot. As to the validity of the short

       form indictment discussed in Part IX, I concur.

                                              BACKGROUND

¶ 73          During the investigation, two suspects other than Defendants were

       identified—Ashley Phillips and Tim Tim McCain.                    Phillips is a black woman.1




              1 McCain’s race was not identified by the confidential informant in the police report regarding

       McCain’s involvement in the murder. The trial court referenced the report and stated that the
       informant “says . . . [h]e saw a black male identified as Tim Tim McCain at the apartment complex
       minutes before the murder.” However, the report only mentions “a black female” and does not mention
       McCain’s race.
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       Feimster’s family initially identified Phillips as a possible suspect, and a confidential

       informant “stated that he did know that [Feimster’s] family was trying to pin the

       murder on . . . this girl because [she and Feimster were] already beefing.” When

       shown a photograph of Phillips, which was not in a photographic lineup, Gregory

       stated, “she does look like [the woman who shot Feimster].”                 Law enforcement

       investigated Phillips as a suspect, and a confidential informant identified a car,

       consistent with Phillips’ car, at the apartment complex on the day of the murder.

       When the police searched Phillips’ car, they found a .25 caliber Lorcin pistol, and

       latex gloves inside her car. This combination of items was consistent with Gregory’s

       testimony that the man who participated in Feimster’s murder was wearing latex

       gloves, as well as with her testimony regarding the small size of the gun used to

       murder Feimster.

¶ 74         Additionally, according to a Salisbury Police Department Case Supplemental

       Report, a confidential informant told law enforcement they saw McCain “at the

       apartment complex minutes before the murder.” The confidential informant stated

       McCain “was wearing two big coats, was carrying a large looking pistol, and was

       trying to conceal his face with a white tshirt.” This information was consistent with

       Gregory’s testimony that the man who participated in Feimster’s murder was

       wearing a work jacket and a white t-shirt, and her prior statement to an officer at the




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       hospital that the Hispanic man had a gun.2 Furthermore, according to the report,

       McCain saw the informant looking at him but McCain kept walking. The informant

       implied McCain was with a black woman in a car, which was consistent with Phillips’

       car. The informant also stated McCain “didn’t kill the victim[,] but the [woman] did”;

       “[McCain] had to call the [woman] to do it because he had been seen.”                            This

       information was also consistent with Gregory’s testimony that a black woman shot

       Feimster, and was accompanied by a Hispanic man.

¶ 75          Based on this information, Defendants intended to present evidence that

       Phillips and McCain committed the crime. However, on 7 March 2019, the State filed

       a Motion in Limine to Preclude Mention of Possible Guilt of Another.                             Over

       Defendants’ objections, the trial court granted the State’s motion in limine to exclude

       questions or testimony regarding the guilt of another. In granting the State’s motion

       in limine to exclude questions or testimony regarding the guilt of other individuals,

       the trial court found:

                      [S]ome items, specifically, a .25 caliber handgun and latex
                      gloves were found somewhere relevant to Ashley Phillips.

                      That also Ashley Phillips and others were seen arriving at
                      the police department in a vehicle that has been forecasted
                      to the Court to be similar to an automobile that was
                      identified by a confidential informant as being in or around


              2 At trial, contrary to her statement to the officer at the hospital that the Hispanic man had a

       gun in the apartment the night of Feimster’s murder, Gregory testified that she could not remember
       whether the Hispanic man had a gun.

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                    the scene of the murder of Ms. Feimster on [24 May 2016].

                    Also evidence has been presented at trial to indicate that
                    the two -- the black female and the Hispanic male that were
                    in the apartment on the night of [24 May 2016], were in
                    communication via telephone. One or both of those
                    individuals were in communication via cell phone with
                    other individuals asking questions such as, “Where are
                    you? When are you going to be here,” which would -- could
                    create and could be seen as evidence of the involvement of
                    other parties, which to this Court does not -- which to this
                    Court means that there may have been other people
                    involved --could very well have been other people involved
                    at -- and one of those people could very, very well have been
                    Ashley Phillips.

¶ 76         Throughout the trial, over Defendants’ objections, the trial court precluded the

       presentation of evidence of other suspects implicated in the murder of Feimster.

       Without hearing such potentially exculpatory evidence, the jury found Abbitt guilty

       of first-degree murder on the basis of both premeditation and deliberation and felony

       murder, attempted robbery with a dangerous weapon, and assault with a deadly

       weapon, and the jury found Albarran guilty of first-degree murder on the basis of

       felony murder, attempted robbery with a dangerous weapon, and assault with a

       deadly weapon.

¶ 77         Defendants argue the trial court erred in prohibiting them from offering

       evidence of the guilt of Phillips and McCain, as evidence regarding whether they were

       even at Feimster’s apartment on the night of the murder was exculpatory.

                                              ANALYSIS


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¶ 78         Relevant evidence is “evidence having any tendency to make the existence of

       any fact that is of consequence to the determination of the action more probable or

       less probable than it would be without the evidence.” N.C.G.S. § 8C-1, Rule 401

       (2019). “The admissibility of evidence is governed by a threshold inquiry into its

       relevance. In order to be relevant, the evidence must have a logical tendency to prove

       any fact that is of consequence in the case being litigated.” State v. Holmes, 263 N.C.

       App. 289, 302, 822 S.E.2d 708, 720 (2018), disc. rev. denied, 372 N.C. 97, 824 S.E.2d

       415 (2019). “Trial court rulings on relevancy technically are not discretionary.” Id.

       “Whether evidence is relevant is a question of law, [and] we review the trial court’s

       admission of the evidence de novo.” State v. Kirby, 206 N.C. App. 446, 456, 697 S.E.2d

       496, 503 (2010). Even though we review relevancy rulings de novo, we give the trial

       court rulings regarding whether evidence is relevant “great deference on appeal.”

       State v. Allen, 265 N.C. App. 480, 489-90, 828 S.E.2d 562, 570, disc. rev. denied,

       appeal dismissed, 373 N.C. 175, 833 S.E.2d 806 (2019).

¶ 79         The Majority correctly sets out the rule regarding relevant evidence

       implicating others:

                    Evidence casting doubt on the guilt of the accused and
                    insinuating the guilt of another must be relevant in order
                    to be considered by the jury. Because the relevancy
                    standard in criminal cases is “relatively lax,” any evidence
                    calculated to throw light upon the crime charged should be
                    admitted by the trial court. However, the general rule
                    remains that the trial court has great discretion on the

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                          MURPHY, J., dissenting in part and concurring in part.



                    admission of evidence. Evidence that another committed
                    the crime for which the defendant is charged generally is
                    relevant and admissible as long as it does more than create
                    an inference or conjecture in this regard. Rather, it must
                    point directly to the guilt of the other party. The evidence
                    must simultaneously implicate another and exculpate the
                    defendant.

       Miles, 222 N.C. App. at 607, 730 S.E.2d at 827 (emphases added) (citations and marks

       omitted); supra at ¶ 35. In Miles, we differentiated prior cases, “where alternate

       perpetrators were positively identified and both direct and circumstantial evidence

       demonstrated the third parties’ opportunity and means to murder,” from the

       defendant’s speculative hypothetical that a third party only needed to “step outside

       her home to murder her husband.” Id. at 608, 730 S.E.2d at 827. Such a speculative

       hypothetical did not amount to sufficient evidence to insinuate the guilt of another.

       Id. at 608-09, 730 S.E.2d at 827-28.

¶ 80         While the Majority correctly identifies the rule regarding relevant evidence

       implicating others, I disagree with its analysis and conclusion that the evidence

       proffered by Defendants should not have been admitted. The Majority cites the trial

       court’s findings and concludes “[n]either Defendant proffered evidence tending to

       both implicate another person(s) and exculpate either Defendant.” Supra at ¶ 37.

       According to the Majority, the inferences from the evidence regarding Phillips and

       McCain were not inconsistent with evidence of either Albarran or Abbitt’s guilt.

       Supra at ¶¶ 37-38 (“The proffered evidence merely inferred another person may have

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                          MURPHY, J., dissenting in part and concurring in part.



       been involved in, or assisted in committing the crimes. Such inferences, if true, were

       not inconsistent with direct and eyewitness evidence of either Albarran or Abbitt’s

       guilt.”). I could not disagree more.

¶ 81         The evidence Defendants offered regarding the guilt of others was highly

       relevant regarding the possibility of mistaken identification of who was actually in

       the apartment on the night of Feimster’s murder. Specifically, Gregory’s statement

       that Phillips looked like the woman in the apartment and the similarity between the

       informant’s description of McCain and Gregory’s description of the man in the

       apartment, in conjunction with the evidence placing McCain and Phillips at the scene

       of the crime and evidence implicating McCain and Phillips that was consistent with

       Gregory’s description of the murder, had the potential to cast doubt regarding

       whether Abbitt or Albarran were the male and female intruders in Feimster’s

       apartment on the night of the murder.

¶ 82         There was strong evidence to inculpate Phillips. In addition to Feimster’s

       family identifying Phillips as a suspect first, Gregory’s statement that “[Phillips’

       picture] does look like [the woman who shot Feimster],” which was not included in a

       photographic lineup, is highly relevant. The confidential informant implied McCain

       was with the woman who shot Feimster. When asked specifically whether Phillips,

       among two others, had anything to do with the murder, the informant responded

       negatively regarding the two other people, but told the police he “couldn’t advise

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                          MURPHY, J., dissenting in part and concurring in part.



       about [whether Phillips was the woman he saw].” If Phillips was the black woman in

       the apartment on the night of Feimster’s murder, and there was only one female

       intruder, such evidence would directly exculpate Abbitt. Additionally, other evidence

       implicated Phillips in Feimster’s murder and aligned with Gregory’s testimony

       regarding the small size of the gun and use of gloves. A confidential informant

       identified a vehicle consistent with Phillips’ vehicle at the scene of the crime on the

       day of the murder, and a .25 caliber Lorcin pistol and latex gloves were discovered

       inside Phillips’ vehicle. Further, Gregory testified the Hispanic man “had on latex

       gloves[.]”

¶ 83          Gregory’s statement regarding Phillips looking like the woman who killed her

       daughter, and Feimster’s family’s suspicion of Phillips, taken with the other evidence

       found in Phillips’ vehicle and the informant’s statements in the police report, raises

       more than a mere inference that Phillips may have been involved in Feimster’s

       murder. Rather, it “constitute[s] a possible alternative explanation for the victim’s

       unfortunate demise and thereby casts crucial doubt upon the State’s theory of the

       case.” McElrath, 322 N.C. at 13-14, 366 S.E.2d at 449. This evidence was not only

       relevant, but pointed directly to the guilt of Phillips while exculpating Abbitt. See

       Miles, 222 N.C. App. at 607, 730 S.E.2d at 827.

¶ 84          The case of State v. Israel further undermines the Majority’s reasoning. State

       v. Israel, 353 N.C. 211, 539 S.E.2d 633 (2000). In Israel, “the jury was not permitted

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                            MURPHY, J., dissenting in part and concurring in part.



       to hear” evidence from the defendant regarding the victim’s fear of her ex-boyfriend,

       as well as evidence the ex-boyfriend had been seen at the victim’s apartment complex

       “twice during the week of the murder.” Id. at 215, 539 S.E.2d at 636 (emphasis

       added). Our Supreme Court reasoned:

                     [The ex-boyfriend] had both the opportunity to kill her—
                     pictured as he was on the surveillance videotape entering
                     and leaving the victim’s apartment [within a day of the
                     estimated time of death]—and, given his history with the
                     victim, a possible motive. . . . [A]mple evidence supported
                     [the defendant’s] recent interaction with the victim.
                     Equally ample was excluded evidence of [the victim’s ex-
                     boyfriend’s] own recent interaction with [the victim], and
                     the history of his dealings with her point to more sinister
                     motives than any left behind in [the] defendant’s
                     fingerprints or personal effects.

       Id. at 219, 539 S.E.2d at 638.

¶ 85          The offered evidence similarly placed Phillips at the scene of the crime as the

       confidential informant indicated Phillips’ vehicle was at the apartment complex

       “minutes before the murder” and that a black woman was with McCain.3 While the

       offered evidence regarding Phillips does not provide a specific motive, the victim’s

       family’s suspicion of Phillips as a suspect, as well as the informant’s statement that

       the female with McCain was “already beefing” with Feimster, could have provided a

       potential motive for Phillips to harm Feimster, similar to the ex-boyfriend in Israel.



              3 Although the informant’s statement explicitly referenced McCain, it clearly contemplated the

       woman McCain was with at the apartment at the same time as McCain.

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       The informant’s statements in the report potentially places Phillips at the scene of

       the crime at a time more proximate to the crime than the ex-boyfriend in Israel and

       casts doubt on the accuracy of Gregory’s testimony.

¶ 86         Further, Gregory claimed she was not shown a picture of Phillips, in the

       photographic lineup or otherwise. However, Defendants intended to offer evidence

       that Gregory initially identified Phillips as looking like the woman in the apartment

       on the night of the murder to impeach Gregory’s recollection of the individuals in the

       apartment on the night of the murder. The trial court prevented Defendants from

       presenting evidence that would have fit the exact definition of impeachment

       regarding Gregory’s testimony. “The primary purpose of impeachment is to reduce

       or discount the credibility of a witness for the purpose of inducing the jury to give less

       weight to his testimony in arriving at the ultimate facts in the case.” State v. Bell,

       249 N.C. 379, 381, 106 S.E.2d 495, 498 (1959) (quoting State v. Nelson, 200 N.C. 69,

       72, 156 S.E. 154, 156 (1930)). “Impeachment evidence has been defined as evidence

       used to undermine a witness’s credibility, with any circumstance tending to show a

       defect in the witness’s perception, memory, narration or veracity relevant to this

       purpose.” State v. Gettys, 243 N.C. App. 590, 595, 777 S.E.2d 351, 356 (2015) (quoting

       State v. Allen, 222 N.C. App. 707, 721, 731 S.E.2d 510, 520, disc. rev. denied, appeal

       dismissed, 366 N.C. 415, 737 S.E.2d 377 (2012), cert. denied, 569 U.S. 952, 185 L. Ed.

       2d 876 (2013)), disc. rev. denied, appeal dismissed, 368 N.C. 685, 781 S.E.2d 798
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       (2016). As Defendants argued at trial, the proffered evidence, “in the jury’s eye[,]

       [had the potential to] call into question the reliability of the description[s] that [at]

       different times were given by Ms. Gregory.” Consequently, the evidence implicating

       Phillips was also relevant to impeach Gregory’s testimony or cause the jury to

       question her testimony at trial.

¶ 87          The trial court’s exclusion of this evidence significantly curtailed both

       Defendants’ cases. The State built its case on the fact that if one Defendant was

       guilty, the other was guilty.4           For example, the State introduced evidence of

       Defendants’ cell phone records, showing they had been in contact the day of the crime.

       However, if Defendants were able to introduce evidence that Phillips was the black

       woman in the apartment on the night of the murder, thus exculpating Abbitt, this

       would have also weakened the State’s case that Albarran was the Hispanic man in

       the apartment on the night of Feimster’s murder.5

                      ‘[T]he twofold aim of criminal justice is that guilt shall not
                      escape or innocence suffer.’ We have elected to employ an
                      adversary system of criminal justice in which the parties
                      contest all issues before a court of law. The need to develop
                      all relevant facts in the adversary system is both
                      fundamental and comprehensive. The ends of criminal

              4 In response to the State’s motion in limine seeking to exclude evidence regarding the possible

       guilt of another, Albarran acknowledged the State’s tactic in arguing that the State’s case was “if one
       is guilty[,] the other is guilty.”
                5 For instance, if Phillips was the black woman in the apartment on the night of the murder,

       and not Abbitt, Albarran was not the Hispanic man in the apartment. Additionally, if McCain was in
       the apartment that night, and not Albarran, then Abbitt was not the black woman in the apartment
       that night.

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                    justice would be defeated if judgments were to be founded
                    on a partial or speculative presentation of the facts. The
                    very integrity of the judicial system and public confidence
                    in the system depend on full disclosure of all the facts,
                    within the framework of the rules of evidence.

       United States v. Nixon, 418 U.S. 683, 709, 41 L. Ed. 2d 1039, 1064 (1974) (quoting

       Berger v. United States, 295 U.S. 78, 88, 79 L. Ed. 1314, 1321 (1935), overruled on

       other grounds by Stirone v. United States, 361 U.S. 212, 4 L. Ed. 2d 252 (1960)).

       Defendants’ proffered evidence was of great consequence to the pursuit of the truth

       as to who killed Feimster.

¶ 88         Albarran also desired to introduce evidence that someone else, namely McCain,

       may have committed the crimes. The confidential informant implied that McCain

       was at the apartment complex with a black woman minutes before the murder.

       Consistent with Gregory’s testimony, the informant said McCain did not kill

       Feimster, but the black woman with McCain did. The informant also stated McCain

       was wearing “two big coats,” “was trying to conceal his face with a white tshirt,” and

       was carrying a gun. Similar to the informant’s statement, Gregory described the man

       as wearing a white t-shirt, latex gloves, and a work jacket, and as carrying a gun.

¶ 89         In granting the State’s motion in limine, the trial court stated “I don’t see that

       this confidential informant [who identified McCain and a black woman at the

       apartment] provides any information that would make me reconsider my ruling.” The

       trial court, and now the Majority, have not properly considered the relevancy of the

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       evidence that implicated others, exculpated Albarran and Abbitt, and further

       impeached Gregory. In Israel, the victim’s ex-boyfriend was seen at the victim’s

       apartment complex “twice during the week of the murder.” Israel, 353 N.C. at 215,

       539 S.E.2d at 636 (emphasis added). Here, McCain was seen at the apartment

       complex with a gun minutes before the murder.6

¶ 90          Additionally, Gregory’s initial identification of Phillips as looking like the

       woman in the apartment on the night of Feimster’s murder, and the other evidence

       implicating Phillips, similarly undermines Gregory’s identification of Albarran, as

       Gregory may have also been mistaken about Albarran, rather than McCain, being in

       the apartment that night. Defendants had the right to impeach by offering evidence

       of Gregory’s prior inconsistent statements or dishonesty. See State v. Anderson, 88

       N.C. App. 545, 548, 364 S.E.2d 163, 165 (1988) (marks and citation omitted)

       (“[I]mpeachment is an attack upon the credibility of a witness, and is accomplished



              6 I note our Supreme Court’s opinion in State v. Williams, where the defendant sought to

       introduce evidence that three others may have committed the murders he was accused of. State v.
       Williams, 355 N.C. 501, 532, 565 S.E.2d 609, 627 (2002), cert. denied, 537 U.S. 1125, 154 L. Ed. 2d 808       (2003). In rejecting the defendant’s arguments, our Supreme Court held “there was no evidence to
       indicate that [the first suspect] had committed this crime except for his proximity to the crime scene.”
       Id. at 533, 565 S.E.2d at 628. Here, McCain was not only in close proximity to the crime scene, within
       minutes of the murder, but additional evidence indicated he committed the crime. The informant
       stated McCain was seen with a gun, two coats, a white t-shirt (trying to conceal his face from
       identification), and implied he was with a black woman in a car that matched Phillips’ car. Similarly,
       Gregory described the man in the apartment on the night of the murder to be wearing a work jacket
       and a white t-shirt, and to be carrying a gun. Consistent with Gregory’s testimony, the informant
       stated McCain did not kill the victim; rather, the woman did at McCain’s request. Accordingly, McCain
       was not only in close proximity to the crime, like the suspect in Williams, but Defendants were also
       prepared to offer additional evidence indicating McCain committed the crime.

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       by such methods as showing the existence of bias; a prior inconsistent statement;

       untruthful or dishonest character; or defective ability to observe, remember, or

       recount the matter about which the witness testifies.”).

¶ 91         The trial court concluded that Defendants’ evidence merely implicated the

       involvement of other parties, making any evidence regarding McCain and Phillips

       not exculpatory, because one or both of the Defendants was talking on the phone

       asking questions, including, “Where are you? When are you going to be here[?]” The

       Record lacks evidence linking the four–Phillips and McCain with Abbitt and

       Albarran–by phone or otherwise. The trial court’s grant of the State’s motion in

       limine excluded the evidence underlying Defendants’ key exculpatory theory of

       mistaken identification, and instead assumed a connection between Defendants and

       any other potential perpetrators, without sufficient evidentiary support.          The

       evidence of other suspects had the potential to negate Defendants’ involvement in the

       crime if the intrusion into Feimster’s apartment and her murder were committed by

       Phillips and/or McCain.

¶ 92         The following evidence was potentially exculpatory to Abbitt: Gregory’s

       statement that Phillips looked like the person who shot Feimster; the discovery of a

       potential murder weapon and latex gloves consistent with the crime in Phillips’ car;

       a car consistent with Phillips’ car being at the scene of the crime; and the report that

       a woman with McCain committed the murder. This evidence points to one black

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       female intruder, Phillips, in Feimster’s apartment that night, which would exculpate

       Abbitt from Feimster’s murder. The following evidence was potentially exculpatory

       to Albarran: an informant placing McCain at the apartment complex minutes before

       the murder; the consistent identification of a male in a white t-shirt and coat with

       latex gloves; and the connection of McCain with Phillips in conjunction with the

       evidence inculpating Phillips.     This evidence also points to one male intruder,

       McCain, in Feimster’s apartment that night, which would exculpate Albarran from

       Feimster’s murder. Consequently, the trial court erred in precluding Defendants

       from introducing such evidence.

¶ 93         “When the trial court excludes evidence based on its relevancy, a defendant is

       entitled to a new trial only where the erroneous exclusion was prejudicial.” Miles,

       222 N.C. App. at 607, 730 S.E.2d at 827. “A defendant is prejudiced by the trial

       court’s evidentiary error where there is a ‘reasonable possibility that, had the error

       in question not been committed, a different result would have been reached at the

       trial out of which the appeal arises.’” Id. (quoting N.C.G.S. § 15A-1443(a) (2011)).

       “[The] [d]efendant bears the burden of showing prejudice.” Id. Here, Defendants

       have shown a reasonable possibility that the jury would have reached a different

       result if the trial court had admitted the evidence implicating Phillips and McCain,

       as this evidence would have exculpated Defendants and the only evidence directly

       connecting Defendants to the crime was Gregory’s identification of them, which would

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                          MURPHY, J., dissenting in part and concurring in part.



       have been undermined by her impeachment.

                                           CONCLUSION

¶ 94         Defendants sought to introduce exculpatory evidence regarding the

       involvement of two different suspects in the murder of Feimster. This relevant

       evidence simultaneously implicated others and exculpated Defendants. Further, it

       impeached the State’s key witness. The trial court should not have granted the

       State’s motion in limine to exclude questions or testimony regarding the guilt of

       another, and, had the trial court’s evidentiary error not occurred, a different result

       was reasonably possible. Defendants are entitled to a new trial, and, other than the

       validity of the short form indictment, the remaining issues on appeal are moot. I

       respectfully dissent.




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